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Case: 2:24-cv-01519-EAS-CMV Doc #: 1-1 Filed: 03/29/24 Page: 40 of 249 PAGEID #: 45
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Case: 2:24-cv-01519-EAS-CMV Doc #: 1-1 Filed: 03/29/24 Page: 205 of 249 PAGEID #: 210
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